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                       IN THE UNITED STATES DISTRICT COURT
                      FOR WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,

                                       Plaintiff,
                                                    CIVIL ACTION NO. 2:22-CV-547(MJH)
                 v.

MICHAEL RUSSIN, RUSSIN FINANCIAL,
RUSSIN GROUP, SIMON ARIAS, III, ARIAS
AGENCIES, S.A. ARIAS HOLDINGS, LLC,
AMERICAN INCOME LIFE INSURANCE
                                                    ELECTRONICALLY FILED
COMPANY,

                                    Defendants.

                      AFFIDAVIT OF ANNE R. DANA IN SUPPORT OF
                        MOTION FOR ADMISSION PRO HAC VICE

         I, Anne R. Dana, make this Affidavit in support of the motion for my admission to appear

and practice in this Court in the above-captioned matter as counsel pro hac vice for Defendant,

American Income Life Insurance Company in the above-captioned matter pursuant to LCvR 83.2

and LCvR 83.3. and this Court’s Standing Order Regarding Pro Hac Vice Admission.

         I, being duly sworn, do hereby depose and say as follows:

         1.      I am a Partner of the law firm King & Spalding LLP.

         2.      My business address is 1185 Avenue of the Americas, 34th Floor, New York, NY

10036.

         3.      I am a member in good standing of the following State Courts and/or United

States Courts:

                 Court                                               Date of Admission

                 New York                                            2012
                 US Court of Appeals for the Second Circuit          2017
                 USDC Western District of MI                         2023
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       4.      I have never been disbarred, suspended or disciplined by any court.

       5.      My New York bar identification number is 5011366.

       6.      A current certificate of good standing is attached to this Affidavit as Exhibit “A”.

       7.      I attest I am a registered user of the ECF in the United States District Court for the

Western District of Pennsylvania.

       8.      I attest that I have read, know and understand the Local Rules of the Court for the

United State District Court for the Western District of Pennsylvania.

       9.      Based upon the foregoing, I respectfully request that I be granted pro hac vice

admission in this matter.


       I certify and attest that the foregoing statements made by me are true. I am aware that if

any of the foregoing statements made by me are false, I am subject to punishment.


DATED: February 15, 2024
                                                      ____________________________
                                                      Anne R. Dana
                                                      State Bar No. 5011366
                                                      King & Spalding LLP
                                                      1185 Avenue of the Americas
                                                      34th Floor
                                                      New York, NY 10036
                                                      212-556-2100 (Phone)
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                                                      Email: adana@kslaw.com
